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           Benjamin P. Smith                                                                     DA.IL l iLLU:
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           November 22, 2017

           VIA FACSIMILE

           The Honorable Victor Marrero
           United States District Court Judge
           Southern District of New York
           United States Courthouse
           500 Pearl Street, Suite 1040
           New York, NY 10007-1312

           Re:       Royal Park investments SA/NV v. US. Bank National Association,
                     Case No. 1: 14-cv-02590-VM-RWL

           Dear Judge Marrero:

           I submit this letter on behalf of U.S. Bank National Association, as Trustee, (tl1e "Trustee")
           pursuant to Section Il(B)(2) of Your Honor's Individual Practices.

           In accordance with Section Il(B)(l) of Your Honor's Individual Practices, the Trustee and
           Plaintiff Royal Park Investments SA/NV ("RPI") (together with the Trustee, the "Parties")
           exchanged letters on November 13, 2017, November 16, 2017, and November 20, 2017
           regarding the bases for the Trustee's planned motion to dismiss - or, in the alternative to
           stay- the claims in RPI's new complaint in this action (the "Fees Complaint"). 1

           The Trustee's November 13, 2017 letter identified multiple ways in which each of RPI's
           claims in the Fees Complaint are deficient and subject to a motion to dismiss under Federal
           Rules of Civil Procedure 12(b)(6) and 12(b)(l). Tbe Trustee's November 16, 2017 letter
           provided RPI and the Court with a November 13, 2017 hearing transcript dismissing
           claims in a New York state court action nearly identical to RPT's on grounds similar to
           those set forth in the Trustee's November 13, 2017 letter.

           1
             RPI filed the Fees Complaint a!I a separate action on September 6, 2017. See Case No. 1:17-cv-06778, Dlct.
           l (S.D.N.Y.). On November 14, 2017, Your Honor ordered that Case No. 17-cv-06778 be consolidated with
           the underlying action, Case No. 14-cv-02590. Dkt 342 (Order).



                                                                  Morgan, Lewis & Bocklus          UP

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         Hon. Victor Marrero
         November 22, 2017
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         Your Honor's recent consolidation order (Dkt. 342) does not change tJ.1e deficiencies
         identified by the Trustee in RPI's Fees Complaint, which RPI either refotes or does not
                  2
         address. RPI has not proposed any amendments to its Fees Compla.int to address the
         Trnstee's objections, as contemplated by Your Honor's Individual Practices. The Parties'
         correspondence has therefore failed to resolve any disputes regarding the appropriateness
         of filing a motion to dismiss, and a motion to dismiss is warranted for each of 1he reasons
         set forth in the Trustee's November 13, 20 l 7 letter.

      Pursuant to Your Honor's Individual Practices, the Trustee requests that Your Honor
      schedule a conference to provide preliminary guidance regarding the Trustee's planned
      motion to dismiss - or, in the alternative, to stay - the Fees Comp!aint. 3
      Sincerely,

      Isl Benjamin P. Smith

      Benjamin P. Smith

      c: Darryl J. Alvarado, Esq. (via email)
           Hillary B. Stakem, Esq. (via email)




                       The Clerk of Court is directed to enter into the public record
                       0~~X2bove submitted to the Court by


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                       SO ORDERED.




     2
       RPI's November 20, 2017 lener does not address ciach objecLion raised in the Trustee's November 13, 2017
     letter. As one example, RPl's response makes no reference to tbe fact that New York law precludes unjust
     enrichment claims where, as here, RPl alleges that a valid contTact governs the subject matter of its claim.
     See Trustee's Nov. 13, 20 l 7 Ltr. at 2.
     3 The Trustee respectfully requests thal Your Honor also provide guidance regarding the propo~ed schedL1le
     for any formal motion practice at or before the Conference, so that the Parties may plan accordmgly.


    OBJ./ 94467858.1
